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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                              CENTRAL DIVISION

DORA L. VILLEGAS as the       )
Administrator of the Estate   )
of Cesar Villegas, and DORA L.)
VILLEGAS, Individually,       )
                              )            NO. 4:03-cv-30433
          Plaintiff,          )
                              )            RULING ON DEFENDANTS'
   vs.                        )            MOTIONS FOR SUMMARY
                              )            JUDGMENT
ALEWELT, INC. and PORK-N-MORE )
INC., and JOE and SANDY       )
NELSON,                       )
                              )
          Defendants.         )

              Before the Court are motions for summary judgment filed

by defendants Pork-N-More, Inc. [30] and Joe and Sandy Nelson [39].

This   case    involves   the   tragic   death   of   Cesar   Villegas   in   a

construction accident. Mr. Villegas was killed on April 30, 2002

during the construction of a hog finishing building loading chute

on   the   Nelson    defendants'    farm   in    Jefferson    County,    Iowa.

Plaintiff, Mr. Villegas' surviving spouse, filed her complaint in

this Court on August 6, 2003, making state law negligence claims

against defendants Alewelt, Inc., Mr. Villegas' employer, and Pork-

N-More, Inc., the general contractor for the project. On March 31,

2004, plaintiff was granted leave to amend her complaint to add the

Nelson defendants as parties and to assert state law negligence

claims against them.
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              The Court has diversity jurisdiction. 28 U.S.C. § 1332.

The undersigned has been assigned the case pursuant to 28 U.S.C. §

636(c). Oral argument on the motions was held on March 7, 2005. The

motions are fully submitted.

                                       I.

                               SUMMARY JUDGMENT

              Defendant   is   entitled     to    summary     judgment     if   the

affidavits, pleadings, and discovery materials "show that there is

no genuine issue as to any material fact and that the moving party

is entitled to judgment as a matter of law." Erenberg v. Methodist

Hospital, 357 F.3d 787, 791 (8th Cir. 2004)(quoting Fed. R. Civ. P.

56(c)). The Court must view the facts in the light most favorable

to the nonmoving party, and give that party the benefit of all

reasonable inferences which can be drawn from them, "that is, those

inferences which may be drawn without resorting to speculation."

Mathes v. Furniture Brands Int'l, Inc., 266 F.3d 884, 885-86 (8th

Cir. 2001)(citing Sprenger v. Federal Home Loan Bank of Des Moines,

253 F.3d 1106, 1110 (8th Cir. 2001)); see Matsushita Elec. Indus.

Co.,   Ltd.    v.   Zenith   Radio   Corp.,      475   U.S.   574,   587   (1986);

Erenberg, 357 F.3d at 791; Tademe v. St. Cloud State University,

328 F.3d 982, 987 (8th Cir. 2003); Lambert v. City of Dumas, 187

F.3d 931, 934 (8th Cir. 1999); Kopp v. Samaritan Health System,

Inc., 13 F.3d 264, 269 (8th Cir. 1993). An issue of material fact

is genuine if it has a real basis in the record. Hartnagel v.


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Norman, 953 F.2d 394, 395 (8th Cir. 1992) (citing Matsushita, 475

U.S. at 586-87 (1986)). A genuine issue of fact is material if it

"might affect the outcome of the suit under governing law."

Hartnagel, 953 F. 2d at 395 (quoting Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 248 (1986)); see Hitt v. Harsco Corp., 356 F.3d

920, 923 (8th Cir. 2004); Rouse v. Benson, 193 F.3d 936, 939 (8th

Cir. 1999).

            It is the non-moving party's obligation to "go beyond the

pleadings     and       by   affidavits,        depositions,       answers       to

interrogatories, and admissions on file, designate specific facts

showing that there is a genuine issue of material fact." Rouse, 193

F.3d at 939; see Hitt, 356 F.3d at 923. In assessing a motion for

summary judgment a court must determine whether a fair-minded trier

of fact could reasonably find for the non-moving party based on the

evidence presented. Anderson, 477 U.S. at 248; Herring v. Canada

Life Assurance Co., 207 F.3d 1026, 1030 (8th Cir. 2000).

                                      II.

                             FACTUAL BACKGROUND

            The   background   facts       on   which   the    summary    judgment

motions   rest    are   essentially    undisputed.       The    parties    are   in

disagreement about the conclusions to be drawn from those facts.

            Plaintiff is a citizen of New Mexico. The decedent was a

citizen of New Mexico at the time of his death.




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           Defendants Joe and Sandy Nelson own a farm in Jefferson

County, Iowa and are citizens of Iowa. As a part of his farming

activities Joe Nelson operates a custom feeding hog finishing

operation. He also works part-time as a heavy equipment operator

for Diers Construction Company of Brighton, Iowa. A hog-finishing

building was constructed on his farm in 1994.

           Defendant     Pork-N-More,        Inc.    ("PNM")       is   an    Iowa

corporation with its principal place of business in Iowa. It is

owned and operated by Craig Jones. PNM is in the business of

selling,   building,     repairing     and    remodeling     hog    confinement

buildings. PNM performed service work for Joe Nelson on the

original hog-finishing building.

           In   March    2002   Mr.        Nelson   contacted      Jones      about

constructing a second hog-finishing building on the farm. Jones

submitted a "proposal contract" or bid which summarized the work to

be performed and the bid price. (Nelson App. 0045-0048). The

parties agree the document was never signed, but that it provided

the basis of the agreement between Nelson and PNM. The agreement

provided   that    the     farmer/owner         would    arrange        for     all

excavation/backfilling     work.      PNM    planned    to   subcontract       the

concrete and insulation work. (Id. 0017-18).




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             The proposal included a "loading shoot"1 which would

connect      the     finishing   building     with     transport       trailers,

facilitating the transfer of hogs to and from the building and the

trailers. PNM's proposal contemplated the chute would come straight

out from or perpendicular to the east wall of the new building.

             PNM     attempted   unsuccessfully       to   hire    a    concrete

subcontractor with which it had done business. Jones then contacted

Alewelt,     Inc.,    of   Springfield,    Illinois   about   performing     the

concrete work on the pit floor and pit walls of the finishing

building. Alewelt was not hired to do the concrete work on the

loading chute. (Nelson App. at 32). Jones viewed the loading chute

as a smaller project. (Id. at 33). There was no written contract

between PNM and Alewelt.

             Mr. Nelson performed the excavation work by hiring it out

to his employer, Diers Construction, and then performing the work

himself with Diers' machinery. He completed the excavation work in

four to five days. Alewelt then began its concrete work on the

building based on plans and drawings Jones had prepared. (Nelson

App. 0013-14, 0026-27, 0028-29).

             Cesar Villegas was an employee of Alewelt. He worked on

the crew which performed the concrete work on the Nelson project.




     1
       So spelled in the document. (Nelson App. at 47). The Court
agrees with the Nelsons that "chute" is the better usage. (Nelson
Brief at 3 n.1).

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Marc Alewelt is the president of Alewelt, Inc. and worked on the

job with his crew.

             When the building was almost done, Nelson approached

Jones about changing the design of the loading chute. The chute had

two end-of-ramp elevations to accommodate the two kinds of trailers

which would transport hogs: one 18" and the other 42". The "lay of

the land" where the new building was situated was such that the

proposed perpendicular chute could not be accessed by a semi-

trailer. Nelson proposed to angle the chute. Nelson envisioned a

three-walled configuration (two side walls and a middle "divider"

wall to separate the two elevations). (Nelson App. 91-93, 106-07).

Nelson also wanted a three- to five-foot gap between the chute and

the building to enable him to enter the building and remove dead

hogs without using the chute. (Pl./Nelson App. at 11).2

             As Alewelt was finishing his work on the building, Jones

and Nelson approached him and asked if his company could construct

a loading chute while Alewelt was still there. (Nelson App. at 57).

The three talked about Nelson's request to angle the chute.               The

change was not complicated. There is evidence they sketched the

design in the dust on the hood of a pickup truck. (Pl./PNM App. at

101A). Alewelt recommended using one large footing instead of the



     2
       For ease of reference, Plaintiff's Appendix in Support of
Resistance to Nelson's Motion for Summary Judgment is referenced as
"Pl./Nelson App." and Plaintiff's Appendix in Support of Resistance
to PNM's Motion is referenced as "Pl./PNM App."

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post-hole   anchors   in   the   original   proposal,   a   change    which

necessitated additional excavating. (Nelson App. at 60-61). Alewelt

agreed to undertake the additional work, but again no written

contract was signed with either PNM or Nelson.

            Nelson did the additional excavating. Either the same day

or the day after, Alewelt poured the footing. (Nelson App. at 61-

62, 93-94). The next day, April 30, 2002, Alewelt's crew set 3' by

8' aluminum forms in place in preparation for pouring the walls of

the chute. (Id. at 63-64). Nelson did not provide the forms or

assist in setting them up. (Id. at 95, 101).

            Alewelt and Nelson knew it was not possible to back up a

cement truck and use its chute to pour the concrete. (Pl./PNM App.

at 87). Either a concrete pump truck or a concrete hopper bucket

had to be used to elevate the concrete to pour into the forms.

(Nelson App. at 66). Use of a hopper bucket was cheaper and Nelson

told Alewelt he would use the excavator to lift the bucket to the

top of the wall forms. (Pl./PNM App. at 87; PNM App. at 33).

Alewelt asked Jones to rent the hopper bucket. Jones did so and

brought it to the site. He left after delivering the bucket, within

a few minutes time. (Pl./PNM App. at 19). Alewelt's crew poured the

concrete from the bucket. (Nelson App. at 65, 108-09). The concrete

pours were finished by 11:00 a.m. or noon. Alewelt's crew then left

the job site while the concrete "set up." (Id. at 110-11).




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          Nelson left his farm to attend his son's track meet.

(Nelson App. at 96). Unknown to Nelson or Jones, Marc Alewelt told

his crew they could return to the job site that evening to pull or

strip the concrete forms from the chute walls. (Id. at 67, 96). At

approximately 6:00 p.m. the crew, including Mr. Villegas, returned

to Nelson's farm and began removing the aluminum forms from the

chute walls. (Id. at 68). While the crew was removing the forms,

the walls collapsed. Mr. Villegas was crushed under the weight of

the collapsed concrete and died as a result of his injuries. (Id.

at 71-73). Marc Alewelt was at another job site and drove to

Nelson's farm after receiving a call from one of the crew about the

accident. (Id. at 69-71). Neither Nelson nor Jones knew about the

accident until the next morning. (Id. at 38, 96).

          On the date of the accident Marc Alewelt believed his

company had workers' compensation insurance coverage. However, he

subsequently discovered that the company's coverage had lapsed one

to two months before the accident. (Nelson App. at 76-77).

                                 III.

                              DISCUSSION

          The present motions present the question of whether the

defendants owed a duty of care to plaintiff's decedent as the

employee of a subcontractor. That is a legal issue for the Court to

determine and may properly be addressed on a motion for summary

judgment. See Robinson v. Poured Walls of Iowa, Inc., 553 N.W.2d


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873, 875 (Iowa 1996); Downs v. A. H. Construction, Ltd., 481 N.W.2d

520, 522 (Iowa 1992); Lunde v. Winnebago Indus., Inc., 299 N.W.2d

473, 475 (Iowa 1981); Goebel v. Dean & Assoc., 91 F. Supp. 2d 1268,

1273 (N.D. Iowa 2000). However, genuine issues about predicate

facts on which the existence of a duty depends may prevent summary

judgment. Goebel, 91 F. Supp. 2d at 1273.

             A possessor of land has "'a duty to use ordinary care to

keep the premises in a reasonably safe condition for business

invitees.'" Van Essen v. McCormick Enterprises Co., 599 N.W.2d 716,

719 (Iowa 1999)(quoting Konicek v. Loomis Bros., Inc., 457 N.W.2d

614, 618 (Iowa 1990)). The parties agree that Villegas stood in the

position of a business invitee. In the case of the work of

independent contractors, however, the general rule, to which there

are many exceptions, is that the employer of an independent

contractor     is   not   liable    for     injuries    resulting     from     the

contractor's negligence. Lunde, 299 N.W.2d at 475; see Robinson,

553 N.W.2d at 875; Kragel v. Wal-Mart Stores, Inc., 537 N.W.2d 699,

702-03   (Iowa      1995);   Restatement      (Second)      of    Torts   §    409

(1965)(hereinafter "Restatement"). The reason for the rule is the

employer's lack of control of the details of the contractor's work.

Lunde, 299 N.W.2d at 475.

             With respect to her claims against both the Nelsons and

PNM   plaintiff     relies   on   two   exceptions     to   the   general     rule

identified in the Restatement: (1) § 422 dealing with the liability


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of possessors of land; and (2) § 414 concerning retained control

over the work of a contractor.3 In practical operation the two

exceptions are very similar because they focus on the degree of

control exercised or retained over the work of the contractor.

          Plaintiff has also alleged PNM and the Nelsons failed to

exercise reasonable care by employing a contractor who did not have

workers' compensation insurance, a subject discussed separately

later.

A.   Safe Premises and Retained Control

          The   liability    of   possessors    of   land    who   employ

independent contractors is governed by Restatement § 422:

          A possessor of land who entrusts to an
          independent contractor construction, repair,
          or other work on the land, or on a building or
          other structure upon it, is subject to the
          same liability as though he had retained the
          work in his own hands to others on or outside
          of the land with physical harm caused to them
          by the unsafe condition of the structure (a)
          while the possessor has retained possession of
          the land during the progress of the work, or
          (b) after he has resumed possession of the
          land upon its completion.

See Lunde, 299 N.W.2d at 479. "The status of a 'possessor of land'

turns on occupation and control of the land, not mere ownership."

Wiedmeyer v. Equitable Life Assur. Soc., 644 N.W.2d 31, 33 (Iowa

2002); see Van Essen, 599 N.W.2d at 719. Restatement § 328E defines




     3
       Plaintiff does not rely on the "peculiar risk" or "inherent
danger" exceptions in Restatement §§ 216 and 427.

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a possessor of land as "[a] person . . . in occupation of the land

with intent to control it."

           Restatement § 422 is a rule of vicarious liability. Where

applicable it makes the employer of an independent contractor

liable for the negligence of the contractor which causes physical

harm. Written in terms of who possesses the land at the time of

injury the exception textually seems relatively broad in scope.

However, as applied by Iowa courts the focus of the § 422 exception

is narrower and in another direction. The supreme court has

observed that "[a]lthough the possessor of land exception is

defined by control over the land, courts make this determination by

looking   at   the   degree   of   control    exercised   over   the    work."

Robinson, 553 N.W.2d at 876 (emphasis original). The employer's

"involvement in overseeing the construction must be substantial in

order to impose liability under a safe premises theory." Downs, 481

N.W.2d at 524 (quoting Lunde, 299 N.W.2d at 479); see Robinson, 553

N.W.2d at 875-76 (also quoting Lunde).

           Restatement    §   414    is   a   specific    retained     control

exception. Where the employer of an independent contractor retains

control of any part of the work the employer has a duty to others

to use reasonable care in exercising the control retained.

           One who entrusts work to an independent
           contractor, but who retains the control of any
           part of the work, is subject to liability for




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           physical harm to others for whose safety the
           employer owes a duty to exercise reasonable
           care, which is caused by his failure to
           exercise his control with reasonable care.

Id. Here also the retained control must be substantial.

           . . .[t]he employer must have retained at
           least some degree of control over the manner
           in which the work is done. It is not enough
           that he has merely a general right to order
           the work stopped or resumed, to inspect its
           progress or to receive reports, to make
           suggestions or recommendations which need not
           necessarily be followed, or to prescribe
           alterations and deviations. Such a general
           right is usually reserved to employers, but it
           does not mean that the contractor is
           controlled as to his methods of work, or as to
           operative detail. There must be such a
           retention of a right of supervision that the
           contractor is not entirely free to do the work
           in his own way.

See Downs, 481 N.W.2d at 525 (quoting cmt. c); Hernandez v. Midwest

Gas Co., 523 N.W.2d 300, 303 (Iowa App. 1994)(same); Piper v.

Jerry's Homes, Inc., 2003 WL 22199580 at *3 (Iowa App. 2003)(Table

case)(unpublished).     The    person       who   hires   a   contractor   may,

therefore, retain a "broad general power of supervision and control

as to the results of the work so as to insure satisfactory

performance . . . including the right to inspect, the right to stop

the work, the right to make suggestions or recommendations as to

details   of   the   work,    the   right    to   prescribe    alterations   or

deviations in the work, -without changing the relationship" from

employer-independent contractor to one of agency. Lunde, 299 N.W.2d

at 479-80 (quoting Stilson v. Moulton-Niguel Water District, 21


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Cal. App. 3d 928, 936, 98 Cal. Rptr. 914, 918 (1971)(quoting in

turn McDonald v. Shell Oil Co., 44 Cal.2d 785, 790, 285 P.2d 902,

904 (1955)).

     1.      The Nelsons

             The Nelsons owned the land. Mr. Nelson hired PNM to build

the finishing building. He performed all of the excavation work for

the project, including the additional work occasioned by the

loading   chute     design   change.    At   Nelson's    direction     the

configuration of the chute was changed to meet his specifications.

That Nelson contributed his own labor, specified the requirements

for the loading chute, and altered its design are insufficient,

under the authorities cited, to establish that he exercised the

requisite degree of control over Alewelt's work, or retained

control of the manner in which it was performed, so as to impose

liability under either the safe premises or retained control

exception.

             Nelson proposed the hopper bucket as the means to pour

the concrete used to construct the loading chute. He also used his

employer's excavating equipment to lift the hopper bucket to the

top of the forms in order to pour the concrete. Nelson's preference

for the hopper bucket and use of the excavator to lift the bucket

was a measure of control of the means by which the concrete would

be poured into the forms, but the use of the hopper bucket to pour

concrete was not causally related to the injury to Mr. Villegas.


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Mr. Nelson did not oversee Alewelt's work in any significant way,

or retain or exercise any degree of control of the manner or

methods by which Alewelt set or removed the forms for the concrete.

As a matter of law, the circumstances did not give rise to a duty

of care on the part of Mr. Nelson toward Alewelt's employees beyond

a duty of care in Nelson's operation of the excavator. The Nelsons

are entitled to summary judgment.4

     2.   PNM

          Craig Jones, PNM's president and construction supervisor,

hired Alewelt to undertake the concrete work for the pit floor and

walls of the finishing building. While the building was under

construction Jones made numerous visits to the job site. (PNM App.

at 108-09). He provided Alewelt with diagrams of the outside

measurements    of   the   pit   walls    and   diagrams   depicting   rebar

placement for the building. (PNM Supp. App. at 15, 17). He helped


     4
       It is appropriate at this point to note several matters
concerning the claim against the Nelsons. First, there is no
evidence that Mrs. Nelson had anything to do with the project
beyond her status as a property owner.
      Second, plaintiff has argued that because Nelson offered the
opinion the forms were taken down too soon, he knew or should have
known that Alewelt would carry out its work in a dangerous manner.
Nelson's opinion as to the cause of the accident is not evidence of
knowledge that Alewelt would take the forms down when it did.
      Lastly, Restatement § 422 imposes vicarious liability on a
possessor of land who "entrusts" work to an independent contractor.
Alewelt was hired by PNM, not the Nelsons. The Court believes,
however, that § 422 does not depend on a formal contractual
relationship. Nelson and PNM's Jones talked to Mr. Alewelt about
doing the additional concrete work on the loading chute, and
viewing the facts favorably to plaintiff it is fair to regard
Nelson has having entrusted the work to him.

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set flags out for placement of the building. (Id. at 15, 23). Jones

or an employee of PNM delivered rebar to the job site. (Id. at 27).

He inspected the floor of the building the first day Alewelt was on

the job to make sure rebar placement was correct. (Id. at 22). On

another visit, Jones inspected to see that rebar placement in the

walls was correct and that the "pump-outs" looked okay. (Id. at

23). As Alewelt testified: "[Jones] told me exactly what he wanted,

made sure we were doing it right, made sure our rebar was to his

specification, specification of the floor, the walls, the pump-out

locations." (Pl./PNM App. at 90). For his part, Jones admitted he

was more vigilant in inspecting Alewelt's work because he had not

dealt with him before. "I wanted to make sure it was done correct."

(Id. at 53-54).

               Evidently Alewelt's work on the building proper was

satisfactory. When Nelson talked to Jones about reconfiguring the

design of the loading chute, the two of them approached Alewelt

about constructing the chute before he left the job site. Alewelt

agreed to do the work. Jones left it to Alewelt and Nelson to work

out the details concerning the loading chute. (PNM App. at 33).

From this point most of Alewelt's contacts concerning the chute

were with Mr. Nelson. (Id. at 32). Alewelt testified Jones "didn't

really participate much more." (Pl./PNM App. at 91).

               That PNM furnished material, provided specifications and

plans    for    the   concrete   work   on   the   finishing   building,   and


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inspected the work to make sure it was done correctly evince the

exercise of the kind of broad supervision normally performed by

general contractors which, under Lunde, and subsequent cases would

ordinarily not be sufficient to establish that PNM owed a duty of

care to Alewelt's employees under either Restatement § 422 or §

414. However, viewing the evidence favorably to plaintiff, the

greater vigilance with which Jones viewed Alewelt's work, Alewelt's

testimony that Jones "made sure we were doing it right" and the

absence of a contract setting out the rights and responsibilities

between general and sub-contractor, might reasonably permit an

inference that implicit in the agreement between Alewelt and PNM

was an understanding that PNM retained the right to control the

manner in which Alewelt's work on the finishing building was

performed.5

          That work, though, was essentially complete when Alewelt

was approached to do the loading chute. The loading chute was a

separate part of the overall project which Alewelt had not been

hired to perform. PNM's involvement with Alewelt's work on the

loading chute was limited to securing Alewelt's agreement to do the

work according to Nelson's design and specifications (such as they



     5
       This is not a case in which an express contract between the
general contractor and subcontractor imposed a contractual duty on
the general contractor to maintain the safety of the workplace. See
Giarratano v. Weitz Co., 259 Iowa 1292, 1305, 147 N.W.2d 824, 832
(1967); Farris v. General Growth Dev. Corp., 354 N.W.2d 251, 254-55
(Iowa App. 1984).

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were), to put the two of them together to work out the details, and

to rent the hopper bucket. PNM, in the person of Jones, was not

present when the work was performed, did not inspect it, and did

not supervise it. PNM thus did not oversee construction of the

loading chute nor did it retain control over the manner in which

Alewelt did the work on the loading chute. Consequently, PNM also

did not owe a duty of care to Alewelt's employees in connection

with Alewelt's work in constructing the loading chute and is

entitled to summary judgment.

B.    Alewelt's Lack of Workers' Compensation Insurance

           Included among the specifications of negligence pleaded

against the Nelsons and PNM is an allegation that they knew, or

should have known, that Alewelt was not covered by a policy of

worker's compensation insurance as required by Iowa law.6 Plaintiff

bases her cause of action in this regard on Restatement § 411 which

has to do with negligence in the selection of a contractor.

           An employer is subject to liability for
           physical harm to third persons caused by his
           failure to exercise reasonable care to employ
           a competent and careful contractor (1) to do
           work which will involve a risk of physical
           harm unless it is skillfully and carefully
           done, or (b) to perform any duty which the
           employer owes to third persons.

Id.



      6
       Plaintiff does not brief the issue with respect to the
Nelsons, hence it is analyzed only with respect to PNM's role as
general contractor.

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            PNM asked Alewelt to provide proof of insurance. (Pl./PNM

App.   at   82).   Alewelt   had   its       broker   send   a   certificate   of

insurance. (Id.) The certificate did not show that workmens'

compensation coverage was in effect. (Id. at 126). Alewelt did not

know until after the accident that its workers' compensation

coverage had lapsed. (Id. at 82).

            The Iowa Supreme Court has not adopted Restatement § 411.

See Duggan v. Hallmark Pool Mfg., Inc., 398 N.W.2d 175, 179 (Iowa

1986); Piper, 2003 WL 22199580 at *4. The court has observed that

"the right to workers' compensation is purely statutory" and that

Iowa's statute does not impose workers' compensation liability on

general contractors to the employees of uninsured subcontractors.

Downs, 481 N.W.2d at 507. Even if § 411 were the law in Iowa, it

does not apply to claims based on the financial irresponsibility of

the contractor. Piper, 2003 WL 22199580 at *4 n.3; Restatement §

411 cmt. g. The duty articulated in the Restatement is a duty to

exercise    reasonable    care     to    employ       a   contractor   who   will

competently and carefully perform the contracted work, or perform

a duty the employer owes to third persons. There is no evidence

that at the time PNM employed Alewelt it had reason to know Alewelt

would be incompetent or careless. See Piper, 2003 WL 22199580 at

*4. Nor did PNM hire Alewelt to perform any duty PNM owed to

Villegas. This Court very much doubts the Iowa Supreme Court would

(or could given § 411's purpose and limitations) employ § 411 as a


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vehicle to recognize a common law duty on the part of a general

contractor    to   exercise    reasonable   care   to   insure   that   its

subcontractors have workers' compensation insurance for their

employees.

                                    IV.

                              RULING AND ORDER

             The Nelson defendants' motion for summary judgment [39]

is granted. PNM's motion for summary judgment [30] is granted. This

matter remains set for trial on May 16, 2005 with respect to the

claims against defendant Alewelt.

             IT IS SO ORDERED.

             Dated this 4th day of May, 2005.




                                     19
